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                     UNITED STATES DISTRICT COURT
        FOR THE Northern District of Illinois − CM/ECF NextGen 1.8 (rev. 1.8.3)
                                  Eastern Division

Anthony Lee
                                          Plaintiff,
v.                                                         Case No.: 1:25−cv−01772
                                                           Honorable Jorge L. Alonso
Wexford Health Sources Inc., et al.
                                          Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Thursday, April 10, 2025:


       MINUTE entry before the Honorable Jorge L. Alonso: Defendant Mitchell
McGladdery's Unopposed motion for extension of time to file his answer or initial
pleading to Plaintiff's complaint [31] is granted to 4/18/25. Notice mailed by
Judge&#0;39;s staff (lf, )




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